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In re: Motions for Judgment on M “468

the Pleadings in Social Security STANDING ORDER ..
Cases 5

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

cases filed under 42 U.S.C. § 405(g)
seeking judicial review of final decisions by the Commissioner of
Social Security denying requests for social security benefits, it
is hereby

ORDERED, that in all Social Security cases hereafter filed
under 42 U.S.C. § 405(g) and 42 U.S.C. § 1383(c) (3), the
defendant shall within 90 days after service file the certified
transcript of administrative proceedings, which shall constitute
the defendant’s answer, or otherwise move against the complaint;
and it is further

ORDERED that, unless otherwise ordered by the judge to whom
the case is assigned, in cases where the plaintiff is represented
by counsel, the plaintiff shall file a motion for judgment on the
pleadings within 60 days of the date on which the defendant files
the certified transcript of the administrative proceedings which
motion submission must contain a full recitation of the relevant
facts and a full description of the underlying administrative

proceedings; the defendant shall within 60 days after plaintiff's
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submission, file and serve its response to the plaintiff’s motion
for judgment on the pleadings which shall state any additional or
contrary facts deemed necessary to resolve the case; and the
plaintiff shall file any reply within 21 days after service of
the answering papers; and it is further

ORDERED, that in cases where the plaintiff is appearing pro
se,* the defendant shall file its motion for judgment on the
pleadings within 60 days of the date on which the certified
transcript of administrative proceedings have been filed. The
motion must contain a full recitation of the relevant facts and a
full description of the underlying administrative proceding. The
plaintiff shall file an answering brief within 60 days of the
filing of the defendant’s motion. The defendant may file a reply
within 21 days thereafter; and it is further

ORDERED, that memoranda in support of or in opposition to
any dispositive motion filed under this Standing Order shall not
exceed 25 pages in length and reply memoranda shall not exceed 10
pages in length. A party seeking to exceed these page

limitations must apply to the Court for leave to do so, with

 

“This procedure shall also apply when plaintiff is
represented by pro bono counsel.
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copies to all counsel, no fewer than seven days before the date

upon which the memorandum must be filed.

Dated: New York, New York

GDRU QO_, 2014

Loretta A. Preska
Chief United States District Judge
